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                     UNITED STATES DISTRICT COURT

                       DISTRICT OF MASSACHUSETTS


Donna Maciel



V.                                CIVIL ACTION NO. 1:10-cv-12167-JCB



Thomas J. Hastings
Properties, Inc.




                     SETTLEMENT ORDER OF DISMISSAL



BOAL, M.J.


     The Court having been advised by counsel for the parties that

the above-entitled action has been settled;

     IT IS HEREBY ORDERED that this action is hereby dismissed

without costs and without prejudice to the right, upon good cause

shown within sixty (60) days, to reopen the action if settlement

is not consummated.




                                             /s/ Steve K. York
February 22, 2013                            --------------------------
                                             Deputy Clerk
